          IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF MISSOURI
                        WESTERN DIVISION

UNITED STATES OF AMERICA,        )
                                 )
                Plaintiff,       )
                                 ) Criminal Action No.
     v.                          ) 05-00344-02-CR-W-ODS
                                 )
STEVEN SANDSTROM,                )
                                 )
                Defendant.       )

                             O R D E R

     Before the court is defendant’s motion for severance of

defendants on the grounds that (1) the defendants are not

properly joined, (2) there is a Bruton issue, (3) there will

be a prejudicial spillover of evidence, (4) evidence of

prior crimes or behavior will likely be admitted against

each defendant, (5) defendant may wish to call co-defendant

Eye as a witness, and (6) defendants will likely point

fingers at each other and present antagonistic defenses.

Because I find that defendant is properly joined, and he has

raised no issues mandating severance, his motion for

severance will be denied.

I.   BACKGROUND

     On September 29, 2005, an indictment was returned

charging defendant with two counts of interference with

federally protected activities, in violation of 18 U.S.C. §

245(b)(2)(B); one count of using or discharging a firearm




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during a crime of violence, in violation of 18 U.S.C. §

924(c)(1)(A)(iii); two counts of using or discharging a

firearm during a crime of violence causing murder, in

violation of 18 U.S.C. §§ 924(c)(1)(A)(iii) and (j)(1); one

count of tampering with a witness, in violation of 18 U.S.C.

§§ 1512(a)(1)(C) and (a)(3)(A); one count of obstruction of

justice, in violation of 18 U.S.C. § 1519; one count of

using fire to commit a felony, in violation of 18 U.S.C. §

844(h)(1); and one count of threatening to retaliate against

a federal witness, in violation of 18 U.S.C. § 1513(b)(2).

Co-defendant Gary Eye is charged with all of these offenses

except the last, the retaliation count.

      On March 14, 2006, defendant filed a motion to sever

his trial from the trial of co-defendant Eye (document

number 61) on the above-listed grounds.        On April 14, 2006,

the government filed a response in opposition to defendant’s

motion for severance (document number 101).

II.   MOTION FOR SEVERANCE

      The issues of joinder and severance are governed by

Rules 8 and 14, Federal Rules of Criminal Procedure.            Rule 8

establishes the requirements for joinder of offenses or

defendants in the same indictment.       Rule 14 allows the trial

court to order severance, even though joinder of offenses or

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defendants is proper under Rule 8, if it appears that the

defendant or government is prejudiced by the joinder.              The

objective of both rules is to balance the prejudice inherent

in joint trials against the interests in judicial economy.

A.   JOINDER

     Joint trials play a vital role in the criminal justice

system.   Richardson v. Marsh, 481 U.S. 200, 209 (1987).

They promote efficiency and “serve the interests of justice

by avoiding the scandal and inequity of inconsistent

verdicts.”   Id., at 210.

     Whether joinder of defendants is proper is a question

of law which is reviewed de novo.        United States v. Robaina,

39 F.3d 858, 861 (8th Cir. 1994).        The specific joinder

standards of Rule 8 are not themselves of Constitutional

magnitude.   United States v. Lane, 474 U.S. 438, 446 (1986).

Improper joinder does not, in itself, violate the

Constitution; rather, misjoinder would rise to the level of

a Constitutional violation only if it results in prejudice

so great as to deny a defendant his or her Fifth Amendment

right to a fair trial.     Id. at 446 n. 8.

     Whether joinder is proper is generally to be determined

from the face of the indictment.         United States v. Willis,

940 F.3d 1136, 1138 (8th Cir. 1991), cert. denied, 507 U.S.

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971 (1993); United States v. Andrade, 788 F.2d 521, 529 (8th

Cir.), cert. denied, 479 U.S. 963 (1986).         Joinder of two or

more defendants in a single indictment is proper under Rule

8(b) if the defendants are alleged to have participated in

the same act or transaction or in the same series of acts or

transactions constituting an offense or offenses.           United

States v. Gravatt, 280 F.3d 1189, 1191 (8th Cir. 2002);

United States v. Akers, 987 F.2d 507, 512 (8th Cir. 1993).

Rule 8(b) requires that there be some common activity

involving all of the defendants which embraces all the

charged offenses, but it is not necessary that each

defendant have participated in each act or transaction of

the series.   United States v. O’Connell, 841 F.2d 1408, 1431

(8th Cir. 1987).

     In this case, defendants are both charged with all

counts except one, and these counts are all part of the same

series of acts or transactions -- all part of a series of

acts resulting in and following the murder of William McCay.

Therefore, I find that defendant and co-defendant Eye are

properly joined.

B.   SEVERANCE

     Once the Rule 8 requirements are met by the allegations

in the indictment, severance thereafter is controlled

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entirely by Federal Rule of Criminal Procedure 14.              United

States v. Lane, 474 U.S. at 447.          Rule 14 allows severance

where joinder will result in unfair prejudice to a

defendant.

     The general rule is that persons charged in the same

indictment should be tried together.          Zafiro v. United

States, 506 U.S. 534 (1993).      Courts have long recognized

that joint trials conserve government funds, diminish

inconvenience to witnesses and public authorities, and avoid

delays in bringing those accused of crime to trial.               United

States v. Lane, 474 U.S. at 449; Bruton v. United States,

391 U.S. 123, 134 (1968).

     Severance under Rule 14 will not be granted absent a

showing of unfair prejudice.      United States v. Lane, 474

U.S. at 447.   Severance is not required simply because a

defendant might have a better chance of acquittal in a

severed proceeding.       United States v. Blaylock, 421 F.3d

758, 766 (8th Cir. 2005), cert. denied, 126 S. Ct. 1108

(2006).   Furthermore, Rule 14 does not require severance

even if prejudice is shown; rather, it leaves the tailoring

of the relief to be granted, if any, to the district court’s

sound discretion.    Zafiro v. United States, 506 U.S. at 539.

Where defendants are properly joined under Rule 8(b),

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severance should be granted only if there is a “serious risk

that a joint trial would compromise a specific trial right

of one of the defendants, or prevent the jury from making a

reliable judgment about guilt or innocence.”          Id.    Accord

United States v. Joiner, 418 F.3d 863, 868 (8th Cir. 2005).

Even when the risk of prejudice is high, limiting

instructions often will suffice to cure any risk of

prejudice.    Zafiro v. United States, 506 U.S. at 539;

Richardson v. Marsh, 481 U.S. at 211.

1.   BRUTON

     Defendant argues that he is entitled to a severance

because discovery “appears to indicate” that co-defendant

Eye made incriminating statements, and “presumably” the

government will seek to admit those admissions which “might

also be perceived by jurors” to implicate defendant.

     The Sixth Amendment issues raised in Bruton v. United

States, 391 U.S. 123 (1968), concern post-conspiracy

statements.   Bruton is not violated where the hearsay

statement is otherwise admissible under Federal Rule of

Evidence 801(d)(2)(E) concerning co-conspirators’

statements.   United States v. Coco, 926 F.2d 759, 761 (8th

Cir. 1991); United States v. Bentley, 706 F.2d 1498, 1507

(8th Cir.), cert. denied, 464 U.S. 830 (1983).            Defendant

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does not point to any specific statements, and the

government, in its response, states that it intends to admit

statements of co-defendant Eye as co-conspirator statements.

Therefore, Bruton does not apply here.

2.   PREJUDICIAL SPILLOVER

     Next, defendant contends that because the indictment

alleges that co-defendant Eye (the shooter) was motivated by

racial animus, evidence of that racial animus would spill

over and prejudice the defendant, who was not the alleged

shooter.

     The government states in its response that racial

animosity is an element of the crimes charged in counts one

and three, counts in which defendant is named.

     Disparity in the evidence against each of the

defendants or allegations that evidence incriminating a co-

defendant will have a spillover prejudicial effect against

the moving defendant are, alone, insufficient grounds for

severance.   United States v. O’Meara, 895 F.2d 1216, 1919

(8th Cir.), cert. denied, 498 U.S. 943 (1990).            Thus,

preference for joint trial of jointly indicted defendants is

not limited by any requirement that the quantum of evidence

of each defendant’s culpability be quantitatively or

qualitatively equivalent.     United States v. Swinney, 970

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F.2d 494 (8th Cir.), cert. denied, 506 U.S. 1011 (1992);

United States v. Pecina, 956 F.2d 186 (8th Cir. 1992);

United States v. Pou, 953 F.2d 363, 368-69 (8th Cir), cert.

denied, 504 U.S. 926 (1992); United States v. Stephenson,

924 F.2d 753, 761 (8th Cir.), cert. denied, 502 U.S. 813

(1991).

     Because the government is required to prove racial

animosity on the part of both defendants, and the government

alleges that both defendants had a substantially equal role

in the preparation for and the murder of William McCay,

defendant’s motion for severance on this basis will be

denied.

3.   EVIDENCE OF PRIOR CRIMES

     Defendant argues that he is entitled to a severance

because evidence of prior crimes or behavior will likely be

admitted against each defendant, and evidence against one of

the defendants would spill over to prejudice the other

defendant.

     Although a joint trial may make it more difficult for a

defendant to defend himself, difficulty alone is not a

reason to reject joinder.     A showing of clear prejudice must

be made.   United States v. Agofsky, 20 F.3d 866, 871 (8th

Cir.), cert. denied, 513 U.S. 909 (1994).         Whether or not

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prejudice occurs depends primarily on whether the jury could

compartmentalize the evidence against each defendant.             Id.

This is a question directed to the discretion of the trial

judge and can normally be resolved through applicable jury

instructions.   United States v. Nevils, 897 F.2d 300, 305

(8th Cir.), cert. denied, 498 U.S. 844 (1990).

     Eighth Circuit Model Criminal Jury Instruction 3.08

instructs the jury to give separate consideration to the

evidence about each individual defendant.         “Each defendant

is entitled to be treated separately, and you must return a

separate verdict for each defendant.       Also keep in mind that

you must consider, separately, each crime charged against

each individual defendant, and must return a separate

verdict for each of those crimes charged.”

     Additionally, Eighth Circuit Model Criminal Jury

Instruction 2.14 instructs the jury to consider evidence

only in the case against a particular defendant.           This

instruction may be read to the jury immediately before or

after the introduction of evidence which is admissible only

against a particular defendant.

     Defendant offers no support for his argument that the

jury will not be able to compartmentalize the evidence other

than the general statement that evidence of each defendant’s

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prior crimes or behavior will spill over to prejudice the

other defendant.    This is not persuasive.       Considering the

cautionary instructions available and the counts as charged

in the indictment, I do not believe the evidence will be so

complex or muddled as to prevent the jury from separately

considering the evidence against defendant Sandstrom.

4.   CALLING CO-DEFENDANT EYE AS A WITNESS

     Defendant argues that he “would likely wish to call

Gary Eye as a witness”.

     Before a claim of needing the testimony of a co-

defendant will mandate severance, it must first be shown

that the co-defendant in question is actually willing to

testify at a severed trial, and that the co-defendant’s

testimony will actually be substantially exculpatory.

United States v. Vue, 13 F.3d 1206, 1210 (8th Cir. 1994).

The Eighth Circuit has traditionally required a detailed

showing of the particulars of the proffered testimony before

requiring severance.      United States v. Jackson, 549 F.2d

517, 524-25 (8th Cir.), cert. denied, 430 U.S. 985 (1977).

     Defendant states in his motion that “defendant would

likely wish to call Gary Eye as a witness”.          It is clear

from defendant’s motion that the requirements for severance

on this basis have not been met -- that the co-defendant is

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actually willing to testify and that the testimony will be

substantially exculpatory.      Defendant has offered no

assurance that co-defendant Eye is willing to testify at a

separate trial or that Eye has any information that is

substantially exculpatory as to defendant Sandstrom.

Without Eye’s willing testimony, defendant cannot force Eye

to testify in a severed trial.        Eye would be free to invoke

his Fifth Amendment rights.      Therefore, granting defendant’s

motion for severance would not result in his being able to

obtain any testimony from co-defendant Gary Eye.

5.    ANTAGONISTIC DEFENSES

      Defendant claims that he is entitled to a severance

because it is very likely that defendants would defend

themselves by “pointing the finger of blame at each other.”

      Mutually antagonistic defenses are not prejudicial per

se.   Zafiro v. United States, 506 U.S. 534, 538-39 (1993).

Where a defendant asserts that his defense would conflict

with a co-defendant’s defense, the defendant must show more

than that his strategy was generally antagonistic to that of

the other co-defendant.     United States v. Oakie, 12 F.3d

1436, 1441 (8th Cir. 1993).      The fact that there is

hostility among the defendants is not sufficient to require

separate trials.    United States v. Searing, 984 F.2d 960,

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965 (8th Cir. 1993); United States v. Swinney, 970 F.2d 494,

500 (8th Cir.), cert. denied, 506 U.S. 1011 (1992).

Defendant is required to make a showing that the conflict

between the defenses is so prejudicial that the differences

are irreconcilable.       United States v. Abfalter, 340 F.3d

646, 651 (8th Cir. 2003), cert. denied, 540 U.S. 1134

(2004).   To determine whether defenses are irreconcilable,

the test is “whether the defenses so conflict that the jury,

in order to believe the core of one defense, must

necessarily disbelieve the core of the other.”             United

States v. Flores, 362 F.3d 1030, 1040 (8th Cir. 2004);

United States v. Abfalter, 340 F.3d at 651.           A defendant is

not entitled to severance unless he can show a “serious risk

that a joint trial would compromise a specific trial right

of one of the defendants, or prevent the jury from making a

reliable judgment about guilt or innocense.” United States

v. Flores, 362 F.3d at 1040.       Hostility and fingerpointing

during the trial alone are not sufficient to justify

granting a severance.      United States v. Searing, 984 F.2d

960, 965 (8th Cir. 1993).

     While mutually antagonistic defenses have been much

discussed in theory, only rarely have courts found that they

exist in practice.    Zafiro v. United States, 506 U.S. at

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538; United States v. Voigt, 89 F.3d 1050, 1094-1095 (3rd

Cir. 1996).   The only example I have been able to find

appears in DeLuna v. United States, 308 F.2d 140 (5th Cir.

1962).   In that case, two men were arrested for possessing a

package of drugs.    One defendant claimed that he was merely

riding in the car and when police approached, the other

defendant threw a package to him and told him to throw it

out the window, which he did.      The other defendant claimed

that he never had possession of the package or knowledge

that it was present.

     The defense theories in DeLuna were not what caused the

court to find that the defenses were unconstitutionally

antagonistic.    In that case, one defendant testified and the

other did not.    The attorney for the defendant who testified

stated many times during closing arguments that his client

had nothing to hide, and that if the co-defendant were an

honest man, he would have testified.        The court held that

the defenses, as presented, violated the co-defendant’s

Constitutional right to remain silent.

     It is well settled that attempting to place blame on

the co-defendant does not justify a severance.            United

States v. Williams, 429 F.3d 767, 775 (8th Cir. 2005);

United States v. Flores, 362 F.3d 1030, 1039-1040 (8th Cir.

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2004).    It is common for co-defendants to attempt to save

their own skin by diverting the jury’s attention to the

other defendant.    United States v. Basile, 109 F.3d 1304,

1310 (8th Cir. 1997).

     In United States v. Basile, 109 F.3d 1304 (8th Cir.

1997), Daniel Basile and Richard DeCaro were charged with a

murder-for-hire scheme.     The government’s theory was that

DeCaro hired Basile to steal DeCaro’s van for insurance

purposes, and then later hired him to kill DeCaro’s wife and

steal their Blazer, making the killing look like part of a

robbery.   At trial, DeCaro presented evidence that Basile

and an individual related to Basile and who had access to

the keys to the stolen vehicles conspired to commit the

crimes.    Basile’s defense was that DeCaro hired him to steal

the vehicles, but he did not kill DeCaro’s wife.           Basile

argued that someone else killed DeCaro’s wife and that he

was the fall guy.    The court of appeals held that these

defenses were not sufficiently antagonistic to require a

severance, even though Basile admitted, through his

attorney, that he stole the DeCaro vehicles at the request

of co-defendant Richard DeCaro (who was also charged with

insurance fraud and arson stemming from the theft and

burning of the van).

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     In this case, defendant has offered no analysis on how

he expects his and Eye’s defenses to be unconstitutionally

antagonistic other than a general assertion that he expects

they will point fingers at each other.        Because the

anticipated defenses of general fingerpointing are not

unconstitutionally antagonistic, defendant’s motion to sever

on this basis will be denied.

III. CONCLUSION

     Because defendant is properly joined with co-defendant

Eye, and because he has raised no issues which require a

severance, it is

     ORDERED that defendant’s motion for severance of

defendants is denied.

     Counsel are reminded that objections to this order on

the ground that it is clearly erroneous or contrary to law

must be filed and served within ten days.



                                   /s/ Robert E. Larsen
                                  ROBERT E. LARSEN
                                  United States Magistrate Judge

Kansas City, Missouri
April 24, 2006




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